uS. Department of Justice PROCESS RECEIPT AND R ETURN

Uniied Siutes Marshals Service See asiructans for Service of Process by UA Adaratieal”

PLAINTIFE COURT CASE NUMBER

Ralph Rodriguez 7:22-cy-10056-PMH 71%
DEFENDANT TYPE GE PROCESS

Burnett et al Summons & Complaint

NAME OF INDIVIDUAL, COMPANY. CORPORATION, ETC. FO SERVE GR DESCRIPTION GF PROPERTY TO SEIZE OR CONOEMN
SERVE OS! Member: Christopher Clacco

AT ADDRESS (Street ar RFD, lparinend No. Cite, State and ZIP Codes
NOCCS OSI, The Harriman State Campus 1220 Washington Avenue Albany, NY 12226-2050

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number af process to be
, ~ served with this Form 2835
Ralph Radriguez 17-A-0928 - er

+ beet : “e Number of parties to be
Fishkill Correctional Facility served in this case
P.O. Box 307 Housing Unit 9-1 hack far serchee
Beacon, NY 12508 . on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IS EXPEDITEING SERVICE (lelide Business and Alternate Addresses,
Alf Telephoae Numbers, aud Extiauted Tines Avaitable far Service):

Signurars of Attocuey olher Originator requesting service on behalf of TELEPHONE NUMBER DATE

tL 4 ‘be C) PLAINTIFF
OEEENDANT

/ of L420 TT] DEFENDANT “

U'SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LENE

Lackeowledge receipt fin the tofal | “foral Pracess | District of District to Signature gf Authorized USMS Oeguty or Clerk Pate

aamber uf prucess indicated, iF Origin Serve
7 he 903-2

Sige andy for LISM 283 Uf more
ran ane USAT 283 is subnitedti — lad © O8 f a >.
Thereby certify and return that | [7] have personally served <2] have legal evidence of service. [] have exeeuted as shawn in “Remarks”, the process described on ihe
individual, company, cocporation, efv., ai the akdess shawn above on the on the individual, compagy, corporation, vic. shown at the address iyerted below.

(U4 hereby certify and return that | are unable tw locate the individual. company, corponiian, ote, aaned ubove (See remarks below)

Nan and ttle of individual surved fifuar sheen chore) Date Time [7] am
in Benth S FP ihe me o Ue /ich3 fé +0 C3 pa
ee
Address jcomplete only differear thant shown above) Sigmature af U.S. Marshal of Deputy
Casts shawn oa adacherd U8Ai8 Cust Sheet >> meg

REMARKS Th, a haoue. Lex out Cewanse \ oe Laced) ake accegat

Fonn USM-285
Rev WGI

